                                                                                                                                          E-FILED IN OFFICE - CB
                  Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 1 of 19CLERK OF STATE COURT
                                                                                                                                 GWINNETT COUNTY, GEORGIA
                             General Civil and Domestic Relations Case Filing Information Form                                               23-C-05602-S1
                                                                                                                                          8/7/2023 3:05 PM
                                                                                                                                     TIANA P. GARNER, CLERK
                                  ☐ Superior or ☐ State Court of ______________________________
                                                       ■         Gwinnett                       County

        For Clerk Use Only
                                                                                                               23-C-05602-S1
        Date Filed _________________________                                Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
__________________________________________________
Bogle, Paul                                                                    __________________________________________________
                                                                               Wal-Mart Stores East, LP
Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
                                                                               Doe, John 1
Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
                                                                               Doe, John 2
Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix     Prefix

Plaintiff’s Attorney ________________________________________
                     Robert L. Jenkins, Esq.                                       Bar Number __________________
                                                                                              390910                      Self-Represented ☐

                                                           Check One Case Type in One Box

        General Civil Cases                                                             Domestic Relations Cases
        ☐           Automobile Tort                                                     ☐            Adoption
        ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
        ☐           Contract                                                                         Maintenance
        ☐           Garnishment                                                         ☐            Family Violence Petition
        ☐
        ■
                    General Tort                                                        ☐            Paternity/Legitimation
        ☐           Habeas Corpus                                                       ☐            Support – IV-D
        ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
        ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
        ☐           Medical Malpractice Tort
        ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
        ☐           Real Property                                                       ☐   Contempt
        ☐           Restraining Petition                                                  ☐ Non-payment of child support,
        ☐           Other General Civil                                                      medical support, or alimony
                                                                                        ☐   Modification
                                                                                        ☐   Other/Administrative

☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                   Language(s) Required

☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
        _________________________________________________________________________________________________________________________
        _________________________________________________________________________________________________________________________
                                                                                                                                              Version 1.1.18
                                                                                                               E-FILED IN OFFICE - CB
                 Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 2 of 19CLERK OF STATE COURT
                                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                                   23-C-05602-S1
                             IN THE STATE COURT OF GWINNETT COUNTY                                              8/7/2023 3:05 PM
                                                                                                             TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
Paul Bogle
_______________________________________

_______________________________________
                                                                                    CIVIL ACTION
_______________________________________                                             NUMBER:

                                 PLAINTIFF                                         23-C-05602-S1

                      VS.
Wal-Mart Stores East, LP
_______________________________________
106ColonyParkDrive,Suite800-B
_______________________________________
Cumming, GA 30040
_______________________________________

                                DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:


Robert L. Jenkins, Esq.
Kanner & Pintaluga
201 Peachtree St., NW, Suite 200
Atlaanta, GA 30303
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

     7th                          August
This _________________ day of ____________________________________,               23
                                                                                20_____.


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                           Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                     E-FILED IN OFFICE - CB
           Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 3 of 19CLERK OF STATE COURT
                                                                                              GWINNETT COUNTY, GEORGIA
                                                                                                         23-C-05602-S1
                                                                                                      8/7/2023 3:05 PM
                                                                                                  TIANA P. GARNER, CLERK
                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

PAUL BOGLE,                                             )
                                                        )
                 Plaintiff,                             )
v.                                                      )       Civil Action File No.
                                                        )
WAL-MART STORES EAST, LP, JOHN                          )       Jury Trial Demand
JOHN DOE No. 1 and JOHN DOE No. 2,                      )                     23-C-05602-S1
                                                        )
                 Defendants.                            )

                                               COMPLAINT

         COMES NOW, Paul Bogle (hereinafter referred to as “Plaintiff”), Plaintiff herein and files this

Complaint against Defendant, Wal-Mart Stores East, LP, (hereinafter referred to as “Defendant”).

                                                      1.

         Plaintiff Paul Bogle is a resident of the State of Georgia and is subject to the jurisdiction of this

Court.

                                                      2.

         Defendant Wal-Mart Stores East, LP, is a for profit corporation which at all material times,

conducted business in the state of, Georgia, Gwinnett County, and is subject to the jurisdiction and venue

of this Court.

                                                      3.

         Defendant Wal-Mart Stores East, LP, is a for profit limited partnership company operating under

the laws of the State of Georgia. It is subject to the jurisdiction and venue of this court. It may be served

by and through its Registered Agent, The Corporation Company, 106 Colony Park Drive Ste. 800-B,

Cumming, GA, 30040, Forsyth County.

                                                      4.

         Defendant John Doe No. 1 was an employee of Defendant Wal-Mart Stores East, LP on the date

of the incident alleged herein. Plaintiff will substitute the correct party name, should that become

necessary, accordingly pursuant to OCGA § 9-11-10, et seq. and any other applicable provision of the
         Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 4 of 19



Georgia Civil Practice Act.

                                                     5.

       Defendant John Doe No. 2 was an independent contractor or subcontractor of Defendant Wal-

Mart Stores East, LP on the date of the incident alleged herein. Plaintiff will substitute the correct party

name, should that become necessary, accordingly pursuant to OCGA § 9-11-10, et seq. and any other

applicable provision of the Georgia Civil Practice Act.

                                                     7.

       Venue and jurisdiction as to this matter are proper in this Court.

                                                     8.

       On October 29, 2021, Wal-Mart Stores East, LP, was the owner operator of a Wal-Mart Store

located at 4375 Lawrenceville Highway, Tucker, Georgia 30084.

                                                     9.

       On October 29, 2021, Plaintiff, Paul Bogle, was an invitee/patron/customer on the premises of

Defendant’s Wal-Mart Store, located at 4375 Lawrenceville Highway, Tucker, Georgia 30084, when he

was caused to slip and fall as a result of water allowed to accumulate on the ground/floor at the front

door, that was leaking from the roof of the store.

                                                     10.

       At all times relevant, defendant owed a duty to the public and its patrons to exercise reasonable

care and maintain safe conditions on its premises. Defendant knew, or in the exercise of reasonable care,

should have known, of the hazardous condition or warned Plaintiff of the unsafe conditions.

                                                     11.

       As a result of the negligence of Defendant Wal-Mart Sores East, LP, Plaintiff suffered bodily

injury, pain and suffering, mental anguish, loss of enjoyment of life, medical treatment, medical

expenses, and loss of income.

                                                Page 2 of 9
         Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 5 of 19



                                      COUNT I — NEGLIGENCE

                                                     12.

       Plaintiff, Paul Bogle, realleges and reavers the allegations made in Paragraphs 1 - 11 as if fully

restated herein.

                                                     13.

       Defendants’ failure to maintain safe conditions and failure to provide notice or warn the patrons

of the hazardous conditions described above constitutes negligence.

                                                     14.

       Defendant Wal-Mart Stores East, LP is responsible for the premises and maintaining safe

conditions for invitee/patrons due to the superior knowledge rule.

                                                     15.

       As a direct result of the Defendants negligence to maintain safe and secure conditions, Plaintiff

slipped and fell, causing him to suffer severe and permanent injuries.

                                                     16.

       Defendants violated OCGA § 51-3-1, which establishes that a property owner is liable to invitees

for injuries caused by failure to maintain safe premises, conduct was negligent per se.

                                                     17.

       Defendants’ negligence caused the unsafe conditions described above at said time and place and

caused plaintiff to suffer physical injuries to his body.

                                                     18.

       As a result of Defendants negligent conduct described above, Plaintiff was required to undergo

necessary medical treatment for the injuries sustained.




                                                 Page 3 of 9
          Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 6 of 19



         COUNT II — LIABILITY OF DEFENDANT WAL-MART STORES EAST, LP

                                                     19.

       Plaintiff, Paul Bogle, realleges and reavers the allegations made in Paragraphs 1 - 18 as if fully

restated herein.

                                                     20.

       By virtue of Defendant’s negligence, Defendant Wal-Mart Stores East, LP is liable to the

Plaintiff, for the costs associated Plaintiff’s medical treatment related to the injuries sustained.

                                                     21.

       Further, as a result of Defendant Wal-Mart Stores East, LP’s negligent conduct causing, without

warning, the unsafe conditions described above, Plaintiff has suffered past, present and future pain and

suffering, permanent injuries, as well as other losses.

                                                     22.

       By virtue of Defendant Wal-Mart Stores East, LP’s negligence, Defendant Wal-Mart Stores East,

LP, is liable to the Plaintiff, for an amount to make Plaintiff whole for his, past, present and future pain

and suffering which may well be permanent, as well as other losses.

                                                     23.

       Plaintiff has suffered lost wages and other tangible losses due to the negligence of Defendant

Wal-Mart Stores East, LP.

                                                     24.

       By virtue of Defendant Wal-Mart Stores East, LP’s negligence, Defendant Wal-Mart Stores East,

LP is liable to the Plaintiff, for an amount to make Plaintiff whole for his lost wages and, possibly, other

tangible losses.

                                                     25.

       By virtue of the conduct of Defendant Wal-Mart Stores East, LP’s negligence, in violation of

                                                 Page 4 of 9
         Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 7 of 19



OCGA § 51-3-1, failure to maintain a safe premises for invitees, Defendant Wal-Mart Stores East, LP,

was negligent per se. Defendant Wal-Mart Stores East, LP is liable to the Plaintiff for the costs associated

Plaintiff’s medical treatment related to the injuries sustained.

                                                    26.

       Further, as a result of the negligence of Defendant Wal-Mart Stores East, LP, Plaintiff, has

suffered past, present and future pain and suffering which may well be permanent, as well as other losses.

                                                    27.

       By virtue of Defendant Wal-Mart Stores East, LP’s negligence, they are liable to the Plaintiff, for

an amount to make Plaintiff whole for, past, present and future pain and suffering which may well be

permanent, as well as other losses.

                                                    28.

       Plaintiff has suffered lost wages and, possibly, other tangible losses due to the Defendants

negligent conduct.

                                                    29.

       By virtue of Defendant Wal-Mart Stores East, LP’s failure to maintain safe and secure premise

for invitees, they are liable to the Plaintiff, for an amount to make Plaintiff whole for lost wages and,

possibly, other tangible losses due to the Defendants negligence.

                   COUNT III — LIABILITY OF DEFENDANT JOHN DOE NO. 1

                                                    30.

       Plaintiff Paul Bogle realleges and reavers the allegations made in Paragraphs 1- 29 as if fully

restated herein.

                                                    31.

       Defendant John Doe No. 1 was employed by Defendant Wal-Mart Stores East, LP, at the time

of the incident, October 29, 2021.

                                                 Page 5 of 9
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                                                    32.

       Defendant John Doe No. 1 was in the scope and course of his/her/its employment with Defendant

Wal-Mart Stores East, LP, as the manager on-sight at the time of the subject incident. At all times

relevant, defendant owed a duty to the public and its patrons to exercise reasonable care and maintain

safe conditions on its premises. Defendant John Doe No. 1, knew, or in the exercise of reasonable care,

should have known, of the hazardous condition or should have warned Plaintiff of the unsafe conditions.

                                                    33.

       Defendant John Doe No. 1 was an agent for Defendant Wal-Mart Stores East, LP due to his/her

on-sight management position with Defendant Wal-Mart Stores East, LP.

                                                    34.

       Defendant Wal-Mart Stores East, LP is responsible for the actions of Defendant John Doe No. 1

due to the doctrine of respondeat superior.

                                                    35.

       By virtue of the conduct of Defendant John Doe No. 1, in violation of OCGA § 51-3-1, failure to

maintain a safe premises for invitees, Defendant John Doe No. 1 was negligent per se. Both Defendant

Wal-Mart Stores East, LP and John Doe No. 1 are liable to the Plaintiff for the costs associated Plaintiff’s

medical treatment related to the injuries sustained.

                                                    36.

       Further, as a result of the negligence of Defendant John Doe No. 1, as well as the negligence of

Defendant Wal-Mart Stores East, LP, Plaintiff, has suffered past, present and future pain and suffering

which may well be permanent, as well as other losses.

                                                    37.

       By virtue of Defendant John Doe No. 1’s negligence as well as the negligence of Defendant Wal-

Mart Stores East, LP, they are both liable to the Plaintiff, for an amount to make Plaintiff whole for, past,

                                                 Page 6 of 9
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present and future pain and suffering which may well be permanent, as well as other losses.

                                                    38.

       Plaintiff has suffered lost wages and, possibly, other tangible losses due to the Defendants

negligent conduct.

                                                    39.

       By virtue of Defendant John Doe No. 1’s failure to maintain safe and secure premise for invitees

as well as the negligence of Defendant Wal-Mart Stores East, LP, they are both liable to the Plaintiff, for

an amount to make Plaintiff whole for lost wages and, possibly, other tangible losses due to the

Defendants negligence.



                   COUNT IV — LIABILITY OF DEFENDANT JOHN DOE NO. 2

                                                    40.

       Plaintiff Paul Bogle realleges and reavers the allegations made in Paragraphs 1- 39 as if fully

restated herein.

                                                    41.

       Defendant John Doe No. 2 was employed as a contractor or subcontractor by Defendant Wal-

Mart Stores East, LP, at the time of the incident, October 29, 2021.

                                                    42.

       Defendant John Doe No. 2 was in the scope and course of his/her/its employment with Defendant

Wal-Mart Stores East, LP, as a contractor or subcontractor at the time of the subject incident. At all times

relevant, defendant owed a duty to the public and its patrons to exercise reasonable care and maintain

safe conditions on its premises. Defendant John Doe No. 2, knew, or in the exercise of reasonable care,

should have known, of the hazardous condition or should have warned Plaintiff of the unsafe conditions.



                                                Page 7 of 9
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                                                    43.

       Defendant John Doe No. 2 was an agent for Defendant Wal-Mart Stores East, LP due to his/her

contract position with Defendant Wal-Mart Stores East, LP.

                                                    44.

       Defendant Wal-Mart Stores East, LP is responsible for the actions of Defendant John Doe No.

2, due to the doctrine of respondeat superior.

                                                    45.

       By virtue of the conduct of Defendant John Doe No. 2, in violation of OCGA § 51-3-1, failure to

maintain a safe premises for invitees, Defendant John Doe No. 2 was negligent per se. Both Defendant

Wal-Mart Stores East, LP and John Doe No. 2 are liable to the Plaintiff for the costs associated Plaintiff’s

medical treatment related to the injuries sustained.

                                                    46.

       Further, as a result of the negligence of Defendant John Doe No. 2, as well as the negligence of

Defendant Wal-Mart Stores East, LP, Plaintiff, has suffered past, present and future pain and suffering

which may well be permanent, as well as other losses.

                                                    47.

       By virtue of Defendant John Doe No. 2’s negligence as well as the negligence of Defendant Wal-

Mart Stores East, LP, they are both liable to the Plaintiff, for an amount to make Plaintiff whole for, past,

present and future pain and suffering which may well be permanent, as well as other losses.

                                                    48.

       Plaintiff has suffered lost wages and, possibly, other tangible losses due to the Defendants

negligent conduct.

                                                    49.

       By virtue of Defendant John Doe No. 2’s failure to maintain safe and secure premise for invitees

                                                 Page 8 of 9
         Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 11 of 19



as well as the negligence of Defendant Wal-Mart Stores East, LP, they are both liable to the Plaintiff, for

an amount to make Plaintiff whole for lost wages and, possibly, other tangible losses due to the

Defendants negligence.

                                                    50.

   WHEREFORE, Plaintiff Paul Bogle prays that this Honorable Court issue a judgment against the

Defendants and in favor of the Plaintiff for:

   a. A summons and process be issued according to law against the Defendants.

   b. Any and all past, present and future medical bills for Plaintiff ’s, medical bills incurred as a result

       of the incident described herein as determined from the enlightened conscious of the jury;

   c. Any and all past, present and future physical, emotional, pain and suffering and any other

       damages to be decided by the enlightened conscience of the jury;

   d. Any and all lost wages and other tangible losses incurred by the Plaintiff;

   e. Any and all costs of this action;

   f. Any other such relief as this Honorable Court deems fit.


   This 7th day of August, 2023,

                                                              KANNER & PINTALUGA

                                                              /s/ Robert L. Jenkins/s/
                                                              Robert L. Jenkins, Esq.
                                                              Attorney for Plaintiff
                                                              Georgia State Bar No. 390910

201 Peachtree St. NW, Suite 200
Atlanta, GA 30303
770 755 9663
866 641 4690
rjenkins@kpattorney.com




                                                Page 9 of 9
                                                                       E-FILED IN OFFICE - MB
Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 12 of 19CLERK OF STATE COURT
                                                                  GWINNETT COUNTY, GEORGIA
                                                                           23-C-05602-S1
                                                                      8/10/2023 11:35 AM
                                                                     TIANA P. GARNER, CLERK
Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 13 of 19
                                                                                          E-FILED IN OFFICE - CB
       Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 14 of 19CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
                                                                                              23-C-05602-S1
                                                                                           8/7/2023 3:05 PM
                                                                                        TIANA P. GARNER, CLERK

                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

PAUL BOGLE,                                           )
                                                      )
                 Plaintiff,                           )
v.                                                    )      Civil Action File No.
                                                      )
WAL-MART STORES EAST, LP and                          )            23-C-05602-S1
JOHN DOE No. 1 and JOHN DOE No. 2,                    )
                                                      )
                 Defendants.                          )


             PLAINTIFF’S NOTICE TO TAKE DEPOSITION OF DESIGNATED
               REPRESENTATIVE PURSUANT TO O.C.G.A § 9-11-30(b)(6)

To:      Wal-Mart Stores East, LP
         Registered Agent, The Corporation Company
         106 Colony Park Drive Ste. 800-B
         Cumming, GA, 30040
         You are hereby noticed that on October 9, 2023 beginning at 10:30 a.m., via Zoom, we

will proceed to take the deposition of Defendant Wal-Mart Stores East, LP’s designated

representative pursuant to O.C.G.A. § 9-11-30(b)(6), upon oral examination for the purposes of

discovery, cross-examination, preservation of evidence and use at trial, and any and all other

purposes allowed under Georgia law, pursuant to O.C.G.A. § 9-11-26 and § 9-11-30. The

deposition will be taken before an officer duly authorized to administer oaths. The oral

examination will continue from day to day until its completion.

         Under the provisions of O.C.G.A. § 9-11-30(b)(6), you are required to designate a

representative who will testify on your behalf in regard to the following:

      1. The incident which forms the subject matter of this lawsuit;

      2. Any verbal or written instructions Wal-Mart Stores East, LP gave employees after it

         learned about Plaintiff’s injury.
        Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 15 of 19




   1. All maintenance and repairs made to the roof at the subject location, 4375 Lawrenceville

         Highway, Tucker, Georgia 30084;

   3. Any verbal or written instructions Wal-Mart Stores East, LP gave employees concerning

         slip and fall incidents.

   4. Identify the person responsible for store maintenance on the date of the incident in question,

         October 29, 2021;

   5.    Any verbal or written instructions Wal-Mart Stores East, LP gave employees concerning

         wet floor, rainy day or hazardous areas in the store;

   6. Identify the contractor or sub-contractor who performed any roof maintenance or repairs

         at the subject location;

   7. All efforts to ensure compliance with state law concerning the safety of customers and the

         store policy;

   8. Identify all employees and management scheduled to work on the date of the incident in

         question, October 29, 2021.

   9. Identify any and all employees, contractors or any other such person who has knowledge

         of the video system used by Defendants on the date of the incident, October 29th, 2021.

         Such information should include:

                 a. who has custody of the videos, an explanation of how the system operates,

                 b. the retention policy of the person or entity that has control of the video,

                 c. and the video itself of the incident that occurred on October 29, 2021.

   In addition, pursuant to O.C.G.A. §§ 24-13-23 and 24-13-27, your designated representative

shall PRODUCE BEFORE OR AT THE DEPOSITION the below documents, records, and

tangible things specified herein.
     Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 16 of 19




       1. The staff schedule, for employees and management, on the date of the incident in

          question;

       2. The store video, for the date of the incident, October 29, 2021, that shows the entrance

          door where Plaintiff fell;

       3. All daily store maintenance logs and repair records for the date of the incident in

          question;

       4. All maintenance and repair records for the roof located at 4375 Lawrenceville

          Highway, Tucker, Georgia 30084.

       5. All written and/or video training instructions and policies concerning store

          maintenance procedures regarding wet floor, rainy day or hazardous area warnings.

       6. Any and all digital, electronic or video recordings of anyone who fell within 30 feet of

          the location where the Plaintiff, Paul Bogle fell on October 29th, 2021. Such video

          should include, but shall not be limited to, the fall of Paul Bogle

       7. Any and all notes, incident reports or message correspondence regarding the incident

          subject to this litigation and injuries;

   This 7th day of August, 2023,

                                                            KANNER & PINTALUGA

                                                            /s/ Robert L. Jenkins/s/
                                                            Robert L. Jenkins, Esq.
                                                            Attorney for Plaintiff
                                                            Georgia State Bar No. 390910

201 Peachtree St. NW, Suite 200
Atlanta, GA 30303
770 755 9663
866 641 4690
rjenkins@kpattorney.com
     Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 17 of 19




                                CERTIFICATE OF SERVICE
       This is to certify that I have this day served all counsel of record in the foregoing matter

with a copy of the within and foregoing by addressing same to:

                                  Wal-Mart Stores East, LP
                        Registered Agent, The Corporation Company
                              106 Colony Park Drive Ste. 800-B
                                   Cumming, GA, 30040


   This 7th day of August, 2023,


                                                            KANNER & PINTALUGA

                                                            /s/ Robert L. Jenkins/s/
                                                            Robert L. Jenkins, Esq.
                                                            Attorney for Plaintiff
                                                            Georgia State Bar No. 390910

201 Peachtree St. NW, Suite 200
Atlanta, GA 30303
770 755 9663
866 641 4690
rjenkins@kpattorney.com
                                                                                            E-FILED IN OFFICE - CB
      Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 18 of 19CLERK OF STATE COURT
                                                                                      GWINNETT COUNTY, GEORGIA
                                                                                               23-C-05602-S1
                                                                                            8/7/2023 3:05 PM
                                                                                         TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

PAUL BOGLE,                                         )
                                                    )
               Plaintiff,                           )
v.                                                  )      Civil Action File No.
                                                    )            23-C-05602-S1
WAL-MART STORES EAST, LP and                        )
JOHN DOE No. 1 and JOHN DOE No. 2,                  )
                                                    )
               Defendants.                          )

                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

     COMES NOW, Paul Bogle, Plaintiff, and pursuant to Rule 5.2 of the Uniform State Court

Rules, hereby certifies that the following:

     1. Plaintiff’s Notice to Take Deposition of Designated Representative Pursuant to

        O.C.G.A § 9-11-30(b)(6).

was served by United States mail with sufficient postage attached thereon to ensure delivery, and

via electronic mail to the following:

                                      Wal-Mart Stores East, LP
                            Registered Agent, The Corporation Company
                                  106 Colony Park Drive Ste. 800-B
                                       Cumming, GA, 30040


     This 7th day of August, 2023,
                                                           KANNER & PINTALUGA

                                                           /s/ Robert L. Jenkins/s/
                                                           Robert L. Jenkins, Esq.
                                                           Attorney for Plaintiff
                                                           Georgia State Bar No. 390910

201 Peachtree St. NW, Suite 200
Atlanta, GA 30303
770 755 9663
866 641 4690
rjenkins@kpattorney.com
                                                                                           E-FILED IN OFFICE - CB
      Case 1:23-mi-99999-UNA Document 2904-5 Filed 09/08/23 Page 19 of 19CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
                                                                                               23-C-05602-S1
                                                                                            8/7/2023 3:05 PM
                                                                                         TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

PAUL BOGLE,                                         )
                                                    )
               Plaintiff,                           )
v.                                                  )      Civil Action File No.
                                                    )
WAL-MART STORES EAST, LP and                        )                    23-C-05602-S1
JOHN DOE No. 1 and JOHN DOE No. 2,                  )
                                                    )
               Defendants.                          )


                RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

        COMES NOW, Paul Bogle, Plaintiff, and pursuant to Rule 5.2 of the Uniform State Court

Rules, hereby certifies that the following documents have been served:

     1. Plaintiff’s First Interrogatories and Request for Production of Documents to

        Defendant Wal-Mart Stores East, LP.

by United States mail with sufficient postage attached thereon to ensure delivery, and by e-mail,

addressed as follows;

                                 Wal-Mart Stores East, LP
                        Registered Agent, The Corporation Company
                              106 Colony Park Drive Ste. 800-B
                                   Cumming, GA, 30040

        This 7th day of August, 2023,

                                                           KANNER & PINTALUGA
                                                           /s/ Robert L. Jenkins/s/
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